               Case 3:14-cr-03419-BAS Document 23 Filed 04/08/15 PageID.156 Page 1 of 5
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case

                                                                                                                                     I \
                                                                                                                                     L)
                                     UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERlCA                             JUDGMENT IN A CRIMINAL CASE
                                v.                                 (For Offenses Committed On or After November I, 1987)
                   GEVORG KUPELIAN (1)
                                                                      Case Number:         14CR3419-BAS
                                                                                                                          111
                                                                   ALEX ROBERT KESSEL
                                                                   Defendant's Attorney
REGISTRATION NO.                    42835298
o
IZl    pleaded guilty to count(s)      ONE (1) OF THE INFORMATION

o      was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                      Nature of Offense                                                               Numberls)
18 USC 371                           CONSPIRACY TOCOMMlT HEALTH CARE FRAUD                                                1




    The defendant is sentenced as provided in pages 2 through                 5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o     The defendant has been found not guilty on count(s)

 o     Count(s)                                               is         .dismissed on the motion of the United States.

 IZl    Assessment:   $100.00


 IZl No fine                    0 Forfeiture pursuant to order filed              .                           ~   included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mliiling address until all fmes, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.


                                                                    APRIL 6. 2015
                                                                    Date of Imposition ()f Sentence


                                                                     ·····.dJiI~·~
                                                                    HON. fAYNTHIA BASHANT
                                                                     UNITED STATES DISTRICT JUDGE


                                                                                                                     14CR3419-BAS
               Case 3:14-cr-03419-BAS Document 23 Filed 04/08/15 PageID.157 Page 2 of 5

AO 245B (CASD Rev. 08/13) Judgmentin a Criminal Case

DEFENDANT:                 GEVORG KUPELIAN (l)                                                  Judgment - Page 2 of 4
CASE NUMBER:               14CR3419-BAS

                                                   IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a term of:
THIRTY (30) MONTHS.




o	       Sentence imposed pursuant to Title 8 USC Section 1326(b).
~ 	      The court makes the following recommendations to the Bureau of Prisons:
         THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO FCI LOMPAC




 o	      The defendant is remanded to the custody of the United States Marshal.

 o	      The defendant shall surrender to the United States Marshal for this district:
         o     at 	
                      ----------------	A.M.                     on
                                                                     --------~~----~-----------------
         o     as notified by the United States Marshal.

         The defendant shall surrender for service ofsentence at the institution designated by the Bureau of
         Prisons:                                . . .
         IZl   on or before WEDNESDAY, JULY8,2015 AT 12:00PM (NOON)
         o     as notified by the United States Marshal.
         o     as notified by the Probation or Pretrial Services Office.

                                                          RETURN

 I have executed this judgment as follows:

         Defendant delivered on 	                                          to
                                    --------~--------------                     ----~-----------------------
 at 	                                         , with a ceItifiedcopy of this judgment.
        ------------------~---




                                                                     UNITED STATES MARSHAL 




                                       By 	                   DEPUTY UNlTED STATES MARSHAL



                                                                                                       14CR3419-BAS
                    Case 3:14-cr-03419-BAS Document 23 Filed 04/08/15 PageID.158 Page 3 of 5

    AO 24SB (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                    GEVORG KUPELIAN (1)                                                                             Judgment - Page 3 of 4
    CASE NUMBER:                  14CR3419-BAS

                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
tenn of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o      substance abuse. (Check, ifapplicable.)
       The defendant shall not possess a fireann, ammunition, destructive. device, or any other dangerous weapon. 

       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pUrsuant to section 3 of the DNA Analysis 

       Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).. 

       The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et 

 o	    seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted ofaqt.u;l.lifying offense. (Check ifapplicable.)
 o	    The defendant shall participate in an approved program for domestic violence. (Check ifapplicable.)

           Ifthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fme or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
      of Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adoptedby this court. The defendant shall also comply
      with any special conditions imposed.                         . .
                                           STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the pennission ofthe court or probation officer; 

      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer; 

      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer; 

      4)    the defendant shall support his or her dependents and meet other family responsibilities; 

      5)    the defendant shall work regularly at a lawful occupation,· unless excused by the probation officer for schooling, training, or other acceptable 

            reasons;                                                         ..                                           .
      6)    the defendant shall notify the probation officer atleast ten days pnorto any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol f!lldshall not purChase, possess, use, .distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;                      .
      8)    the defendant shall not frequent places where .controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
             unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her .at anytime at home or. elsewhere and shall permit confiscation of any contraband
             observed in plain view of the probation officer;                      .
      11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
             the court; and                                           .                                .
      13)    as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal record or
             personal history or I:haracteristics arid shall pennit the probation officer to make. such notifications and to confirm the defendant's compliance
             with such notification requirement.



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              Case 3:14-cr-03419-BAS Document 23 Filed 04/08/15 PageID.159 Page 4 of 5

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:              GEVORG KUPELIAN (1) 	                                                     Judgment - Page 4 of 4
CASE NUMBER:            14CR3419~BAS


                                   SPECIAL CONDITIONS OF SUPERVISION 



      1. 	 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


      2. 	 Submit your person, property, residence, office or vehicle to a search, conducted by a United States
           Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
           contraband or evidence of a violation of a condition of release; failure to submit to a search may be
           grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
           searches pursuant to this condition.


      3. 	 Provide complete disclosure ofpersonal and bt!.siness financial records to the probation officer as 

           requested. 



      4. 	 Notify the Collections Unit, United States Attorney's Office, ofany interest in property obtained,
           directly or indirectly, including any interest obtained under any oth.er name, or entity, including a trust,
           partnership or corporation until the fine ·or restitution is paid in fulL .


      5. 	 Notify the Collections Unit, United States Attomey's Office, before transferring any interest in property
           owned, directly or indirectly, including any interest held or owned under any other name, or entity,
           including a trust, partnership or corporation.

                                                                           .        .
      6. 	 Be prohibited from opening checking accounts or incurring new credit charges or opening additional
           lines of credit without approval of the probation officer.


      7. 	 Not engage in the employment or profession involving fiduciary responsibilities unless the employer is
           aware of the salient details of the defendant's conduct and conviction in the case herein and without
           prior approval of the probation officer.



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                                                                                                        14CR3419-BAS 

              Case 3:14-cr-03419-BAS Document 23 Filed 04/08/15 PageID.160 Page 5 of 5

AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case
  DEFENDANT:             GEVORG KUPELIAN (1)                                                     Judgment - Page 5 of 5
  CASE NUMBER:           14CR3419-BAS

                                             RESTITUTION


 The defendant shall pay restitution in the amount of     $964,011.00           unto the United States of America.

 Pay restitution in the amount of$964,011.00 to CMS through the Clerk, U. S. District
 Court. Payment of restitution shall be forthwith. During any period of incarceration the
 defendant shall pay restitution through the Inmate Financial Responsibility Program at
 the rate of50% of the defendant's income, or $25.00 per quarter, whichever is greater.
 The defendant shall pay the restitution during his supervised release at the rate of$500.00
 per month. These payment schedules do not foreclose the United States from exercising
 all legal actions, remedies, and process available to it to collect the restitution judgment.

 Until restitution has been paid, the defendant shall notify the Clerk ofthe Court and the
 United States Attorney's Office of any change·in the defendant's mailing or residence
 address, no later than thirty (30) days after the change occurs.

 This sum shall be paid immediately.


 The Court has determined that the defendant       does        have the ability to pay interest.




                                                                                                               [Type text]
